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                                  tn{TTED S:IWIES DISIRTET C)UFN
                                    DTS:RICT OF ONNffiTG}T
                                                                 SCANNED
                                                                           "t '  fnUUC,l
                                                                 and Emailed
PATIITCK VAI,SH
      Dl ainfi ff                                                .   olr.llrq oy,.'S.,-.%l   p"g""
                                                                                initials Nd.

DR. JOSEPH OLEMAN, CAROL                                     PRISOIIER
CHAPDEI,AINE, @LLEB{ GAI,I,AGI{ER,                           cAsE    tp:
GRALD HINES, sued in their
j.ndividual capacities, ard WTIIIAM
MULLIGAN, and ROLLIN @OK, sued in
their official capa.cities,
Deferdants -


                         AUPIAII\II IUR T/OIEY DAIIAGES Ar.ID IIt]ItrErION
                                      .IIIRY IRIAL DEINNDED

I. I TBOUITTON
     Patrick walsh, an incarcerated pro se ritigant ard the pl-aintiff herein,
brings forth this civil rights action against severar officiars frcrn the
connecticut Departn.nt of corrections ("grDoc"), for danages and inj unctrve
relief,    pursr.rant   u.s.c. s 1983. The praintiff avers the Deferrlants
                        to   42
were, and cpnti"nue to be deliberately indifferent to the plaintiff's serrous
mentaf heaLth needs; have faired          to   make reasonabLe acccnuncdations     for   the
Praintiff's disability; and appl-ied standards tlnt have had a disparate rmpact
on the Plaintiff, violating the praintiff's rights urder the gth Anerrlnent
to the united states constitution; the Americans with Disabilities Act (,,ADA', )
42 U.S.C. SS 12101       et seq.;   and the Rehabilitation    Act (,'RA,') 29 U.S.C.     S

794. A    brief   suunary    of the case hereby follows:
     The   Plaintiff has continuafly been in the custody of the CImC sinc.\e
August   of 1995. Prior to his arrest and subseguent incarceration, the
Pl,aintiff suffered frcrn a long       and sigrnificant mental health        history. the
PLaintiff's menta] health history is r/el]-docunented arrf was nnde availabre
to the CIDOC upon the P.l-aintiff 's initiaf lntake, including his psychiatric
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evaluations and discharge surrmaries from various hospitalizations. The
Pl-aintiff     was treated by the    nental health staff, within the      CruOC   for
approxinately the  first seven years of the plaintj.ffrs incarceration. Such
treatment was linited to psychiatric medications and randcn sessions with
a prison social worker.
        The   Plaintiff   was then   left   untreated for a substantial- anount of time
{   appro:<imately fourteen years), forced        to self-requlate the synptors of his
psychiatric oorriition ard endure crcntinual- suffering of a deteriorating nentar
state.   The lackof nental health treatr€nt culminated, causing a significant
disruption in tl.e Pl-aintiff's everyday rife. Fearing the inability to controf
certain impulses and/or perceived threats ( symptcrns of the plaintiff's
psychiatric corditions), the pl-aintiff sought the help of CIDOC of ficia,ls.
As    fully articulated subseguently herein, the nane.j Deferrlants' acts and
ord-ssions have resu.l-ted j-n the unnecessarlr and wanton infliction of pa.in,

continual sufferj-ng causing irrepa.rable harm and a failure to           compl-y   with
the   recorrnrenrled and   prescribed course of treatment. ?he facts set forth beLow
de.fibnstrate      that the named Defendants    vJere, and continue   to be,   deriJceratery
indifferent to the Pl-aintiffrs serlous m,:dica] needs and have viol-ated the
legal rights afforded the pfaintiff as a disabled person.
II.   JI'RISDICTTCI{

       (1)   PLaintiff invokes the jurisdiction of of this Honorabfe Courc
              The
pursuant to 28 U.S.C. g 1331 in that this is a civiL action arising under

the Constitution of the United States.
       (2) The Plaintiff invokes the j urisdic tion of tllis       Honorabl-e Court
pursuant      to                    in that this action seeks to redress the
                   28 U.S.C. S 1343(a)(3)
deprivation, under crolor of state law, of rights secured by Acts of congress
providing for equal rights of trErsons within the jurisdiction            of the United
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 States.
        (3)    The   Plaintiff    invokes the j urisdiction   of this    Honorable Court
pursuant       to   42 U.s.C. S 12133    in that thj.s action seeks to redress the
deprivation, under coLor of state law, of rights secured urder the                       ADA.

rIT.   PARIIES

        (4)   The    PLaintiff' patrick walsh, at aff tir€s reLevant to the events
described herein, was a prisoner incarcerated within the CIDOC. He                       is
currently being        housed     at the l,lacDougalr correctional rnstitution, located
at   1153 East       Street South, Suffie1d,    CT 0G080 ("t4cf,').
        (5)             Dr. Joseph Colenan, at aff times relevant to the
              The Defendant,

events describqf herein, was the administrative psyctrorogist in charge of
overseeing MentaL Hearth arxl Addiction services              at t{cr.   He   is   beinq sued
in his individr.ral capacity.
       (6)    The Defendant       caroJ- chapderaine,   at arf tirres re.revant to the events
                              '
described herein, was the warden            at r,rcr. she is being sued in her individual
capacity.
       (7)    The Defendant, Col-Ieen call-ager, MA, CADAC, q:tlP,            at all,   times
relevant to the events described herein, was in charge of the clmc's Hearth
and Addiction Services - She is being sued in her individual_ capacity.
       (8)    The Defendant, Gerald Hines,      at alr- tiLnes relevant to the events
described herein, was the deputy warden and/or "acting" warden                     at f.{cr. He
is   being sued in his inaliviclual capa.city.
       (9)    The Deferdant, wi-l-liarn   l4ulligan, at all tinres rerevant to the evenrs
described herein, was the warden           at Mcr. He is being sued in his officiaf capacity.
     (10) rhe Defendant, Roll-in cook,
                                    is the current @nnissioner of                        @rrecti.on
for the CDOC] fre is beilg sued in his officiaf capacj-ty.
             times  to     evenEs                       @rmissioner of
Pr:T!r,"1 f"-..*.*T   was scott semple. rn tlnt Deierdant iJri"-iilr.
is being sued in his official capacity d,y, Rolhn Cool<
defendant in place of his predecessor, Scolt            is naned as a
                                             Sernpl-e.
                                                -3-
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       (11) A11 deferrlants, naned in flfl 5 through 10 above, have acted and
contj-nue      to act under color of law, at al-I tines relevant to this conplaint.
rV.   r'ASIE

       (12) The Plaintiff @an attending individual, o,rt-patient, therapy
sessions       in   1984, and continued to pa.rticipa.te           in such                sessions on
a   rardcrn basi.s,     r:nti1 Augrist or       Septernber   of   1986. The   pLaintiff     was   illitially
diagnosed as suffering frcm Drpression ard Anxiety Disorder.
     (13) In August, or Septe&ber of 1986, the ptaintiff was hospitalized
for approxi.nately five weeks at Elmcrest psychiatric Hospital, where the
Pfaintiff          treatnent for acute intensi-fied symptqns, deriving fror
               underwenL

his chronic psychiatric disabilities. The plaintiff r,las further diagrosed
as suffering         frar   Dysthymic Disorder, t'tixed personality Disorder, ard Etsisodic
Afcohol Abuse.
       (14) In Augnrst        of   1989, the     plaintiff   undenrent further hospitalization
at Bristol Hospitalrs Psychiatric unit, vrhere the praintiff received extensrve
tre,lhrcni: for exacerbatel symptons ste.nndng fron his dual diagnosed
psychi.rt.ric disabilities. As part of hj.s discharge plan, the pl-aintiff \ras
prescribed psychiatric mglications.
       (15) subseguent to being refeased from the Bristol Hospital psychj.atric
Unit, unti]         October   or   l$ovqrnber   of. 1991, the pl-aintiff partj.cipated in an
evening, out-pa.tient, psychiatric treatment progran, wtrere hj-s symptons v/ere
continually rnonitored and treated as necessary.
       (16) In @tober, or November of 1991, over the crcurse of approxirnately
six   weeks, the      Plaintj.ff received extensive therapy and treatrent at
Brattleboro Retreat, an in-patient psychiatric treatfent center, for
exacerbated symptoms          of his psychiatric disabilities.            The   Plaintiff      was

diagnosal with post-traunatic stress disorder ("PISD"),                       Maj   or   Depression,

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and Arxiety Disorder.       Additionally there     was changes   to the Plaintiff's
psyclliatric   imedj.cations and   the Plaintiff was to continue psychopharnacology.
      (17) on Novenber 14, 1994, the        Pfaintiff urrlement a psychiatric
evaluation, conducted by Doctor         walter Borden ("or. eorden"). Dr. Borden
conc.Iuded   that the Plaintiff    was   suffering frcrn Chronic Depression, Ctronic
qfSD, l4ixed Personality Disorder with depressive features.
      (18) On March 17, 1995, the        Plaintiff    underwent an additional psychiatric

eval-uation, perfornred by Doctor Donald Grayson ("Dr. Grayson"           ),   wliich further
concluded    that the Plaintiff suffers frcm !,laj or       Depressive Disorder, Chronic
PTSD, Mixed    Persornlity Disorder with borderline paranoi-d, antisocial,
obsessj-ve cornpuLsive     features.l The Plaintiff's pri-or history of the treatment
receival, for the acute       slmptoms   of his    ongoing psychiatric   disabilities
as described    in llji   12 through   i6 herein, were included in the evaluation
perfonrcd by Dr. Grayson.
     (19) On August 10, 1995, the         pfaintiff   was   arrested, charged with tturder
in violation of connecticut General statutes $ 53a-54a, ard was a&nitted
into the custody of the SIDOC.
     (20) Upon admission to CIDOC, the         pfaintiff    was seen bv nenta] health


     (21 ) the evafuation reports prepa.red by Dr. Borden ard Dr, crayson,
as described in nl-l 17 ard 18 herein, respectively, were incorporated into
the Plaintiffrs gImC file. The discharge summaries frcrn the plaintiff's
 'The Plaintiffrs diagnoses legarry classify
                                              the plaintiff as suffering fran
psychiatric disabilities. pursuant to @nnecticut Generaf Statutes S i7a-
458 (a), r'[p]erson lvith psychiatric disabilities rneans those personl who
are suffering frorn one or flDre nentar disorders as defilled in the flost recent
eclition of the American Medicar Association's Diagnostic statisticaf Manual-.
The Plaintiffrs legal c.Iassification as suffering frorn psychiatric
disabiriti-es further crassifies the pLaintiff as a disabled person              c{.rrsuanc
to the ADA and the RA.

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  hospitalizations, as described                     in ilII 13, 14 and 16 above, were also
                                                  above
  incorporated                into the Plaintiffrs CTmC fife.
                (221 on Jru[]e 22, 1999, the       pLaintj.ff    was fourd    gmilty of rnurder ard
  on October                6, 1999, the plaintiff   was sentenced     to a fifty-five year, day-
  for-day term of incarceration, to be served within the custody of the                              CIDOC.

          ) Fron his in-itiaL adrnission into the gmoC until 2003, the pfaintiff
                (   23

 was regn:J-arly seen by menlaL health staff contracted by the ctDoc. Throughout

 such time the                Pl-aintiff   was prescribed nunerous     triaLs of psychiatric
 medications, arvl $/as seen by severar different therapists, frcrn the various
 correctional institutions in which the plaintiff was housed, within crDoc.
      (24) Fron 2003 until 2016, the praintiff was not ronitored, nor treated
 by any rnental health                 staff, for his   chronic psychiatric disabih-ties, a'd
 also was not prescribed psychiatric rnedications throughout that tirne.
      (25) Throughout the years the pl"aintiff was left unmonitored ancj
untrea ted the                Plaintiff, utilizing    Fonn G\i 9601 Inmate Regues         t   Form
 ("Request"), on several occasions subrlittsl reques ts to be gecn by rnental
health staff. The plaintiff was inforined that in or<ler Lo be secn, by mental
hear        th staff, regurarJ-y, the pl-aintiff            needed   to take psychi;rtric       medi-cacrons.
The         Plaintiff         was   also infonned, by mental heal th staff, ttraL taking
psychiatric mslications would increase the ptaintiff's mentaf health
cfassification to a "l-eve.I three,'                 ',case rnanagenrent     level,', which would    be
the only way the Praintiff could be seen by mental- heal-th staff on a regurar
li^   -,i   ^



                125)      In 2013, the plaintiff   was transferred      to   l4CI.
                (27) to a tlro-page l-etter, dated August 29, 2016, to the Defendant,
Carol Chapdelaine, the former warden at t4CI (,'Warden Clnpdelaine"), he
Plaintiff: (1)                 inforrne<l Warden Clapfclaine     of his prior        diagnoses and

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hospitalizations for his chronic psychiatric disabil,ities; (2) explained
that the procedures ard policy              changes    at    l,fCI had   fi:rther   exacerbated the
synptcrs         of said psychiatric disabilities;            and (3) outLined       his reliance
on the varj.ous methcds availabLe to him, and willingrress to explore other
means     of     in order to cope with the intensifying synptoms of his
                 Lherapy,
psychiatric disabilities. The pLaintiff also requested to be placed on ,'single
^^ t I   -!^r.,-rl   ,lrd^^|| |
                     T DLD
                              '.
     (28) In addition to Lhe lctter forwarded to warden Ctrapdelaine, as
described in Il 27 above, the pl,aintiff filed a ',Request for Reesonable

                                      utilizing crDoc Form cN 101902 ( "ADA
Accqrincxlations" pursr.ant 'Lo the ADA,
Reguest"), dated Augms t 29, 2016. The plaintiff'|s ADA Reguest was to be placal
on scs arxl stated the reason            for   such acconncdation v/as          bing "tclodperled
to   resi-de wi-th numerous unknown cellrrates over the past three years has caused

a regression and deterioration of coping                 nech"anisms      in   clearing with   clinically
diaEnosed I psychiatric            disabifities ],,.   The   plaintiff afso included the dates
of his 'rPsychiatric Eval-uations", confirnring his diagnoses, as articurated
in   JIjl 17 and 18 above, ard the dates ard
                                           locations of his "psychiatric
Hospitalizations", as described in JItt 13, 14, and 16 above, supporting the
Pfaintiff's legally classification as a disabled                    person.
         (29) The Pl-aintiff subnitterl a Reguest to Defendant tbctor \toseph @leman
of the t4entaf                                at t{CI (,'Dr. Colenan"), dated
                     Heafth and Addiction Services
9/1/16, stating that his "rnental hea] t]. condition is deteriorating due to
conditions within the celIrr, and expressed concerns regarding his "ability
to assess responses/actions of others in close quaters [sic], not as
aggression.rr The        Plaintiff     asked   Dr. cofanEn to      schedu-l-e an     appointnent to
rneet and assess/discuss the            plaintiff's    needs.
         (30) After not receiving any response to his                letter     dated Augmst 29,

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2016 Lo i{arden Chapdelaj.ne, as described             in jI 27 above, the Plaintiff, still
suffering frorn exacerbated              symptdns of his psychiatric disabilities, forwarded

a secod fetter, dated Sept€nber 29, 2016, to                   Warden Chapdelain: seeking

approval,      of   SC.S   arvl a&litional   Iy explaining that the plaintiff has         "spoken
witi    Mental Health ard have begr:n           a treetme;tt   pla,e   with them. .Being ar\rare
of   mystrug;le with PISD, they are in support of persuing [sic] a s iogle
cel-l as part of the treatnent pJ.ar."
        (31   ) After his      trvo   letters to   Ward.tn Chapdelaine went unanswered, and

stilf     experiencing intensified           sympL.ons  of his i)sychiatric disabilities,
the Pl-aintiff fon^rarded a four-pa.ge              letter to Scott Serple, ( former )
Ccrftnissioner       of Corrections for the CTDOC ( rrccrnmissioner S.anple"),           dated
Decernber      8,   2016, and reguesteC assistance with the approval              of   SCS.   Ia \j-s
Ietter to @Tfid.ssioner Sefipl,e, the plaintiff outlined his sufferi:rg frorn
p:ychiatric disabilities ard explainai th: reasons for the increasingly
intensified         symptoms.

        (32) tn a fetter to Dr. Colefilan, dated Jarruary 15, 2017, a.rprr::<imately
four and a half            months   after the plaintiff's initial- Request, the plaintiff
hiqhlighted his repeated attsnpts to schedule an appointnent to di-scu:;s                        anC

address    his      concerns regarding the exacerbated symptcrrs            of his psychiatric
rlisabilities.     Plaintiff also inforineC Dr. Coleman that the plaintiff
                      .fhe

was nEde aware of Dr. Colemanr s refusa] to eva]uate ard treat the ptaintiff.

The Pl,aintiff continued (and stifl continues ) to suffer frcxn mentaf angruish.

     (33) After his initj-al ADA Request went unanswered, the plaintiff
subnitted a sec.ord "Reguest for Reasonlble Accqruncdations", dated 1/15/17,
requesting the sarne reasonable acc,rnn)dations (SCS), stating the salre relsons
i:or such accorffrDdations, as stated              in the Plaintiff's initial      ADA Requ?st,

articulated in             28 above and incorporated hereto by reference. The             Plaintiff
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\tas sufferj.ng (ard continues       to suffer)     frcrn exacerbated symptcms       of his
psychiatric disabilities.
      (34) tne Pl-aintiff received a response to his secord             ADA Request,

described    irt II 33 above, which stated *subritted ro Dr. CoIe.Tan           (   psychologist   )

for review", signed "Capt. Hal.lrr, and dat€d, 1/27/17.
     (35) The Plaintiff received rr: additional response to hj.s secoftl                 .{DA

Request, described in          JI 33 above, which   stated ,,[Dr. Coferan] would supp)rt
a tartpary [sic] si.ngle cell status...final approve of single cell status
contingent upon warden approval,' signd by            b:th,    "Joseph @lernn, psy       Drl

a,ri 'fCapt HaIl", respectively, ard dated l/31 /17.
      (36) fn a letter to Dr. CoLeman, dated Janrurry 31 , 2017, the pl-aintiff
infonned, Dr. @l-enan tlnt due to arxiety arrl further mental anguish, the
Plai'tiff was 'rurccxnfortab]e', with the ternporary nature of the SCS, as
.juggested, ard asked     to   "see [Dr. @Ie{tan] again        at [his] earliest
convcnience.   "
      (37) In a follow-up       letter to Dr. Colernan, dated       February   2,   2017, the
Plaintiff further explained the additiooal- arxiety ard stress the tenporary
nature of the scs would contribute to the praintiff's already exacerbated
symptoms    of his psychiatric disabilities         and asked    Dr. corenan "to consider
a rTpre long term or penranent solution. "
      (38) ?he Plaintiff contj.nust to ( arrl        stil-f   continues to) suffer arrl
enlure mental angnrish. Nearty six months after the plaintiffts initial
corresponfence to Warden Chapdelaine, the pl-aintiff received a letter frorn
Warden Chapdelaine, dated February 10, 2017, which stated that the plaintiff's
fffetter   addressed   to @runissioner Sanple dated       Decembe   r B, 20176 [sic]     has

been forwarded     to this office for        " Warden Chapdel_aine further stated
                                         response.

that the Plajrrtiffr s "request for a single ceII has been reviewecl and I Warden
                                             -9.-
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Chapdelaine                 I []   agreed    to tenporarily place I the Plaintiff] on that lisi.
Hovrever,              []   advised      t]nt this status is       subj   ect to review ard changes      due

i--o   bed space             availability.      "2
         (39) Realizing                  Warden Chapdelaine's approvaf         of the plaintiffrs        SCS

was     lijnited in (1) the status                    was tanpcrary, subject        to revj.ew,   and   continl.$t
on bed space  availability; anC (2) facility specific (as a warden's auth,rrity
is limiterf to the facility in which hc/she governs), the plaintiff forwarded
a correspordance to Cornmissioner Senple, dated February 14, 2017, seeking
pernanent SCS, rpt to be li:nitsl to t4CI. The plaintiff, again, ou -ined his
pain a'rd sufferilg frqn sl4nptcms rerated to his psychiatric disabilities
arrl   IvtCI
               I
                   s   iJradequate respci-r;e         anl treahrEnt of the      sarne.

         (40) The                Plaintiff   uJ,tinatery agreec       to the ternporary scs a,1d in a tetter
dated February 14, 2017, the                         plaintiff    thad<ed Warden Chapdelain:, anJ
inquired into the process of                         makingr the necessary arrangenents       with the uoit
Staff. Additionally, the plaintiff advised Warden Chapdelaine that the
Plaintiff              already forwarded a            letter   Ccmirissioner Semple, as described         in
fl 39 above, addressing the tanporary nature of the                             SCS.

        (41        ) the Pl-aintiff subnitted an additionaf                  ADA   Request, daL€d, 3/3/17,
requesting reasonable acccnuncdations to receive "Facility transport to anl
from Court ard/or medical                      trips".    The    plaintiff stated the     reason   for   such
accocmodations was                   "[d]ue to nental health conditions..." anl outlined hrs
psychiatric disabilities.
        (421 The              Pfaintiff      received a correspordence fror Warden Chapdelaine,
dated March                 9,   2017,   whj-ch afso noted that the plaintiff's ',Ietter addressel

to @nnrissioner Senple datei February 14| 20'17 has been forward,:d to thj.s
=-
ztt is i*portant to note
                         that wa.den ctnpderai.e had rrot resporxied to a.ry
of the Plaintiffrs prior Letters/Reguest-, until the plaintiif's "letter
addressed to cdinissioner sempl-e... I v,/as ] forwardd to [warden chapderaire's]
office for resporse. "
                                                               _10_
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office for   responsetr.   "1AWarden               tlnt, 'rfn 2016= I approved
                                        Clrapdelaine states
your ternporary placement on single cell status for approxirnately 3-4 nonths.
Thls approval is based on the reccxunendation frcrn Dr. Coleman and that there
is no clinical, reason to give you single cel1 status on a pernanent status.
Ho\dever ycu   refused this offer and did not want to be placed on single cell
sLatus. At  this time my decision renains the same....',5
      (43) In a letter dated l{arch 23, 2Oj7 to Warden Chapdelaine, the
 Pl-aintiff again attsnpted to          address the tenporary nature        of his   SCS   ard
the Praintiff advised warden chapdelaine of the              ADA   Reguest, as described
in ll 41 above, to be provided with ',facility transport to court rather tlnn
through Central ltansportation                , the plaintiff again outlined
his psychiatric disabilities. The pLaintiff's correspondence went unanswered,
and the Plaintiff continued to suffer frcrn mentaL angtuish.
      (44) In a Reguest, dat.d 4/3/17, the plaintiff advised Warden Chapdelaine
that his "tgnFor"-y"       SCS   cqnrenced on l4arch 24, 2017 arxl again "attenpt           I   ed ]

to resolve the   temporary       vs.   permanent    issue...."   The   plaintiff's   Request
went unanserered, and the        plaintiff   crcntinued   to suffer    frcxn mentar anquish.
-As previor.rs_ly noted, Warden Chapdelaine seens to only respond   to the
Praintiff's "retterlsj addressed to cdnndssioner sernple...ithat get] forwarded
to I Warden Chapdelaine's ] office for [a] response. rl
=lVarden ctapderaine mistakenly states
                                        "2015" as the year in whictr she approved
the Plaintiff's ternporary SCS. As articulated in JI.fi 35 arri 38 herein,
Dr. Colenan initialJ-y supported the plaintiff's ,'Request for ReasonabLe
Accornmodations" regarding SCS on Januar!. 31 , 2017 (as noted in the pl-aintiff's
ADA Reguest). Thereafter, Warden Chapdel,aine reviewed the pl-aintiff's ',requesc
for a singl-e cell" and "agreed to ternporarily place lthe plaintiff] on t_tlat
Iist",
q
        as statql in Warderi Chapdelaine's letter dated Februart/ lO, 2017.
-Mditiorally, Warden ChapJelaine's corresporxlences stabecl',fol"Low your Cturin
of Conrnand when inquiring on an$rers to your guestions. you ?rill receive
a timelier reslnnse". Warden Grapdelaine's statement fails to acknowledge
the severa,I prior attsnpts, by the Plaintiff, to directly c.onununicate and
try and resolve the issue with Warden Ctrapdelaine.


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       (45) In a         letter to Dr. @lqnan,                dated peril 26, 2017, Lhe plaintiff
outlined the nental- health treatment the plaintiff had been undergoing,                                  and

the Pl-aintiff advised Dr. @ferran tiat the tenrporary SqS, Dr.                         Colernan

prescribed ccnnenced on l4arch 24, 2017. The  plaintiff additionally inguired
into the date of the initial- revienr of the pfaintiff's SCS.
     (46) fn a Request, subnitted to "Capt. Hall-, ADA Coordinator", dated
4/28/'17, the PLaintiff inguired into the status of his                        ADA   Request @ncerlung
facility transport to court and/or nedical trips, as dessribed in ll 41 above.
      (47) The Plaintiff's ADA Request, datEd. 3/3/17, as described in Jl                               4.1


above, was denied by "Capt. Ha1f" on 5/8/17, based on Dr.                           Cofernan   '   s assessnent
that "facility transport to nredical appts + court is rot                          supported by rnental
status firrlings-        . . rl

       (   48   ) ULilizing        qIDOC Form c!{ 9602 'rlrunate       Adnrinistrative Reldy         Eorrn"

the   Plaintiff filed a "crievance",                    dated 5/08/17, regarding the tonporary
desigrnation       of his         sCS ( "C,rievance     I").
       () UtiLizing CTDOC Form 0.i 9602 I'Irnra:e ACmirristrative Raredy Fo,--m,'
           49

the Plaintiff filed a "crievance", daLd'5/12/17, regarding the deniaf cf
facility transport to cou.:t and medical- trips (rrcrievance II").
       (50) The Plaintiff received a response to his Reguest, dated 4/28/17,
described        in   JI 46 above and        incorporated hereto by reference, sigrned "Capt
Hal-I" and DaLe 5/15/17. "capt Hatl" states                      tllat the plaintiff,s ,'ADA request
was denied.        Dr.   Co]snan eva.Luation            (MH) states that facility transport is

not necessary out [sic] this tirne. "
        ) In a letter dated June 25, 2017, the Pl-aintiff j-nfoflred Dr. @lenan
       (51

ttnt the Plaintlff was advised by I4s. Milna Rosario IC.S[,J, of lbnta] Hea]-th
and Addiction services                at   l\,rcf (rrt4s.   Rosario"), that Dr. oolenan requested
Ms. Rosario        rntify the Pfaintiff              bhat the tanporary     SCS   prescribed had
                                                             -'t2-
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expired. Flrthennore, the  Plaintiff o<plained tlat I'it ha[dJ only been three
inonths and [Dr. Colernan's] initiaL reconmendation was for three to four

rpnths". The Plaintiff informed Dr. &Iejnan that the plaintiff continued
to suffer frqn exacerbated symptons of his psychiatric c'ondition, the
Plaintiff out]ined the treatnent that the PLaintiff was undergoing and plc:ded
t^ri   th Dr.   CoLeman   to "considelthe fourth   nonth   of the initial...
recdnmendIation]rr.

                            letter to Dr. Colqnan, dated June 25, 2017,
          (52) ?he Plaintiffrs
described in 1[ 51 above, r,{a.s returned i-o t}re Plaintiff with.r hand-rsri tten
reply, whiclt stated, inter al-ia, tiat the the Plaintiff's "request for a
sin91e cell status is @igQ..." undated) signed "Acting lvarden c. Hines".o
                                           (



(Ernphasis in original. )

     (53) Thereafter, the Plaintiff's SCS was revoked without any evaluations
or asses$nent of the Plaintiff's piychiatric condition.
     (54) In a fetter dated June 26, 2017, to Deferdant WiIIiam ltlulligan,
the warden        whcxn   replaced Warden ChapdeLaine at McI ( "warlen tuulligan"), the
Plaintiff       reguested an extension     of the tqr[,orar].   SCS   previously prescriHt
then revoked. ?he Pl-aintiff inforned Warden Mulfigan that the               Plaintiff   was

"given single celL status. Afbeit temporarlz . . . the act of providing the [single
celll status [by Menta1 Health Staff] establish':d the fact that there is
saretype of need for I the Plaintiff] to be in a single cefl.rr Mditionally,
the Plaintiff forwarded a copy of tlre letter, described herein, to
CoiniTlissj-oner Senple.
o"A.tl-.rg Warden G. Hines" is actually Deferdant Gerald Hines Deputy Warden
at !lCI.                                                      '
1
'It is irnportant to note that in revoking the Plaintiff's "temporary" SCS
"Acting warden c. Hines" does not nention the Pl-aintiff's mental health
condition, any reasses$nent of evaluation thereof, nor the ADA.


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         (55) In response to the reply received by thePlaintiff, described in
JI 52 above, the Plaintiff fonmrded a correspordence to "Acting warden Hinesi,
dated June 29, 2017, in which the Pl-aintiff explained the basis of the
reguest for SCS (i.e., ADA Reguest based on psychiatric disabilities).8
      (56) Ttre Plaintiff's letter addressed to "Acting Warden Hines", dated
June 29, 2017 ard, descriled           in il   55 above, was returned         to the Plaintiff
with a hard-written reply            wh.ich   stated "ff you are reguesting a reasonable
accorunodation under the A.D.A. you inust ccrnplete thr: attached form and turn

it in to      the A.D.A. coordinator          for consideration",        sigrned "i,l. Mulligan"

srrcl   clateo -t-b-t / --
         (57) Utilizing glDoc Form cN 9602 "Inmate Administrative                     Rernedy Form",

the PlainLiff filed a "Grievance", dabed July 7, 2017, regarcling the
revocation of his SCS ( "crievance               III").
         {58) On tuLy 28, 2017, nearly one year after the P}aintiff informed
iJoth Adlrdnistrative        staff   and Mental Heaf        th staff at   I'{CI   of his   exacerbated

symptorns frorn     his psychiatric disabil"iLies             and deteriorating nental- condition,

the plaintiff urderl ent an "rnitial Psychiatric Evafuation". The Pfaintiff's
"Initial Psychiatric         Evaluationn was conducted by I-ea Pannella,                   APRN.

         159)   Utilizing clmc       Form   oI   9602 "Inmate Administrative Ronedy Form'r,

the Plaintiff filed an "Aptr=al of a                 ADA   Decj-sion", dated Jufy 29, 2017,
regarding the revocation of his               SGS.

         (60) The Pl-aintiff was informed, via a               fetter   dated Augnrst 24, 2017,
tltat his ADA appeal, as described in fl 59 above, "has been logged on August
10th to I gtDc Heafth and Mdiction Services ] office"l that the Plaintiff's
rti" nr"i"Lii;;tn"r      expfained that his "request for singre celr status
is not predicated on behavior...." Although thanking "acting warden Hines"
for recoqnizing the Plaintiff's "no less than exenplarl," behavior (guoting
"Acting Warden Hines), the Plaintiff reasoned that "[i]f anything, exernplary
betravior ard the ability to seLf regnrlate thus far, should give credibility
to the expressic,n of I the Plaintiff's] needs...."
                                                     -14-
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"appeal-      is                                 is J-engthy given the history
                   pending decision but the investigation

you have provided in the appeal; and for the Plaintiff to "continue to work
with the       l-ocal"     heal-ti team as needed to address health corditions and work
rdith your treafunent           pJ.an.   "   ?he l-etter was sigrned   by   (   Deferdant   )   "coLleen
Gallagher, MA, CI\DAC, Ccttp" ( "l4rs. Gallagher").
        (61   )   On Septernber     20, 2017, the PLaintiff entered into a "Psychoactive
Medication Agreenent",              in which it        was decided   that the Plaintiff          would be
prescriJced        "clonidine", on a triaL basis, for the exacerbated                       slmptoms       of
his psychiatric disabiLities.
        (62) The       Plaintiff     received a correspondence, dated October                   7,   2017,

frqn Ms. Gallagher which stated:
                  "Your ADA decision appeal has been investigated. Your appeal is
                   currently npdified. Per AD10.19 your appeal also takes into
                   consideration $rhedrer yor:r request f or reasonable acconurcdations
                       revietred by a gualified expert. Your accormodation was revi-ewed
                   I,vas
                   by a gualified psychologist but in keeping with the cuTtr{urrity
                   stanlards an MD, in this case a psychiatrj.sL, can be sought to
                   review your case ald provide expert opinion. Arrangenents are
                   being made to schslule this appointnent on site, please anticiprte
                   an appointrcnt with a Board Certified Psychiatrist.
                   Please continue to work with the focal health team as needed to
                   address health conditions i d work with your treatment plan and
                   treatment providers. Scheduling a psychiatrist may take scnre tirne
                   yr=.*
                   -i ^^^^ ,*  ;-;ient as an appointJnent will be nade.I'
                           t-^ -^i


        (63) The PLaintiff received a "Psychiatric Consultationrr on October
19, 2017, by Sohrab Zahedi,                   I4D   ("O'r. Zahedi"), who opined ttlat the Pfaintiff
"suffers frcm a severe arxiety condition. [Dr.                       Zahedi     ] also   believel    s   ] t]rat
I   the Plaintiffrs ] potential risk of outward or inward aggression...is
substantial. Fton a clinica.L standpoint, [Dr,                     Zahedi   ] believels the Pl-aintiff l
is       of sofiatic treatirent, which includes medications" 9. Dr- Zahedi atso
      need
 rrbeLievelsl that lthe Plaintiffl is correct that
                                                    tthe plaintiff's I risk of
-Dr. zahedi fairs to take into acocunt that the plaintiff was
                                                                 taking a triaf
medication (clonidine ) for anxiety slnptons, at the tire of the coniultatron-

                                                         -15.-
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aggressj-on hrouLd be inproved    with a single cell status,        I   although   ] this
environmentaf answer wouLd do         fittle to   improve syq)tdns associated with
his psychiatric cordition. "
      (64) In a correspotulencE dated October 19, 2017, the pl-aintiff replied
to I4s. cal,lagherrs letter dated October 7, 2017, as described in .ll 62 above,
ard the  Plaintiff noted that the plaintiff received l4rs. Galfagher,s October
7, 2017 letter on October 19, 2017 rrafter the meeting with the psychiatrist,
so I the Plaintiff] was unable to anticipa.te or be prepared for the neeting
as [l{rs. callagher ] had suggested. " ( Bnphasis in original. ) F ur:thernpre,
the Plaintiff explainei, "that t}re rneeting with Dr. Z[ah,:di]...was very
fustrating [sic] because [Dr- zahedi ] uas ccrnpletely focused on pharnacho-
Iogical therapy. [Dr.    Zahedi   ]   was ururvirare   of [the plaintiff's] history         and
shovredLittle interest in hearing about the numerous medications lthe
Plaintiffl had already been prescribed over rm:ltiple years. And the ncrninal
results of which always ccxre at a disproportionate price such as interference
with gual.ity of l-ife and I the Pfaintiffrs ] spirituality" -
     (65) On Novernber 1, 201'l , the pl,aintiff requested that the clonidine
be discontinued.
      (56) I\lrs. Gal.lagher forwarded the pl,aintiff a        letter,    dated Decsnber
 18, 2017, regarding "the report written by Dr. zahedi". l4rs. cau.agher stated
that rrltlhe report finis that t the plaintiff suffer[s] frcxn a severe anxl-ecy
                                                        I
condition.... Since [t]re P]aintiffl tdidl not have a treatrnent p.Ian in place
that addresses lthe Plaintiff's] needs ard concerns [t4rs. callagher]
reccnnended    [a treatnEnt plan beJ develo@ that addresses t]re need for
alternative therapies [the Plaintiff] wish to try as well as tryilg nredication
options as suggested by Dr. Zahedi, and nonj-tored by through psychophanna-
cology, that were not afforded [the          Pfaintiff] in the past.,' Additionally,
                                              -15-
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l4rs. cal"Iagher "reconrerded I tht: P]-aint Lff
                                           I be affor,Jed the opportun-ity to
be celled alone ,:ntil such treainent plan is devised...." Although
l'lrs. Gallagher stated :;uch, the PLainliff             was   not affo,:ded -he opportunity
arrl continueC to suf Eer a deteriorating nental state.
        (67) Based on Dr. zahedirs evaluation, as de;cri_bed               in u 63 above, and
l4rs. c'arLagher's reccnme,rdation, an         initiat     Mental- Health   rnterdisciplirurry
Treatment PIan, ( "Iteatment p.Ianr'), was de..reloped and dated Decerber 27,
2017. The tteatme,rt pfan articulates the               ptaintiff's   diagnoses as "Arxiecy
Disorder ( severe) ", "PISD" arxf "aspo', tAnti-social personality Disorderl,
and   lists   "Obstacles     to Tteatment't as:
                                              . lack of single cell; 2. lack of
                                                   "1
solitude; and 3- lack of a safe place". The Treatrnent pLan further fists
"obj ective[ s ] (to address synptons ) " as "...a srfe prac.e where [the plaintiff]

can vrork on reducing synptons  of anxiety and continue with scnatic treatrnent..
.[the Plaintiff] is in consideration of taking psychorropic medication [a:d
isl wil-ling to fllrther discuss with a prescrib:r; interested in neurofeeiback
and   EI\4DR I Eye   ]4ovement   Desr:nsitization and Reprocessing      I for   sel-f regurau-on      I
lPlaintiffl 'arill continue with ovrn resr)aro\ on DeveloprentaL Trauna Disordex
and @nplex PTSD; wilf continue to self-regrutate with facility provideC
proqrans, i.e. A[ Iternatives to] V[olience] plrogram], Hospice Vclunteer,
Therapeutic Wel-l-ness program         fa.:ilitator, fieditation,     N/A ard A/A,    etc....,,
     (68) The December 27, 2017 Tteatnent plan, as described in q 67 above,
was pres-Jted to the pfaintiff by l4r;. Rosario. The pLaintiff agreed with

what was articufated i-n the Tteatment pran and the rtea.-rent pfan                  v,'as   siqned
by both lrls. Rosario and the        plaintiff   o:r Decenber     27, 2017. Subseluentty,
the Defendant Dr.        Colernan, marked   the Treatrnent plan       as          dated ',1/3/1g',
and   initialed "J/c".
       (69) Dr. Coleman devised an altered treatnent plan in which Dr. Coleinen,

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 hrlthout any further psychiatric evaluations or consultations with the
Plaintiff ard contrary to Dr. @Ieman's consultation notes, dated Jaruary
31 , 2017, changed the "Diagnosis frqn "Arxiety Disorder (severe) " to an

"Unspecified Arxiety Disorder" and qnitted the ',Diagnosis,' of ',PISD',,
essentially ndninizing the severity of the plaintiff's previously diagrnosed
mental condition. Dr. Colernan ctnnged the ,'Obstacles To tteabnent" section
to state          " I innrate   j decision to not           pursue the      furf array of    treatment options
avairabre", without any specification as to what treatnent options Dr. cotenan
was   referring to. Dr. @fenan further mini:nized and down-played the
Praintiff's rentaf heal-th issues by categorizing "Anxiety Disorder (severe) "
and "ItIlSD'r, as articulated in the Decenrber 27, 2017 Iteatnent plan, as

"altered rrDod" a',i "altered thougfit pro.ess,, respectivel,y. Mditional-Iy,
Dr.   Coleman         sigrnificantly minimized the "Manifested By                    (   symptcrns   ),' section
and ctnnged the "Objective[s]                    (to       address slmptcrns    )', sectlon of the Treatnent
Plan.
        (70) Dr. corernan's afterations                      of tie initia-r    Decsnber     27,     2017   lreatrent
PIan were presented               to the plaintiff by l,ls. Rosario in the form of a new
Treatnent Pl-an' dated January                  9, 2018, wtrich the plaintiff did not sigrn.
The   Pfaintiff cbntinued                (arrt stirl continues ) to suffer frqn a deterioratinq
mental state.
        (71   )   The freguency       of the plaintiff's therapy                sessions vrith I4s. Rosarl-o
increased fron nonthly sessions                   to weekly sessions in Januan/ of 201g.
        (72) In February            of   2018,   the pLaintiff ccrnpleted ,'scales', for Eye
I{ovqnent Desensitization and Reprocessing ( "EIDR"                           ) therapy.
      (73) The         Praintiff continued             (   and stir-r. continues   ) to suffer        e,\acerbated
slmptcxns     of his psychiatric disabirities,                       due   to envirorurentar stress of
a double-cefl and arxiety over anticipated "central Transportation', trips
to appointnEnts outside of the facility.
                                                              _18_
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          (74) In September   of   2018, approximately nine rpnths      after Dr. Zahedi's
report      and continued   suffering by the Plaintiff, l4rs. Gallagher contacted
Ms. Rosario, by way of "el-ectronic mail", inquirj-ng as to why there was not
an active treatment plan signql by tire         Plaintiff.      Ms. Rosario explained         Lo

Mrs. callagher that an        initial   'Ireatrnent plan was developed and signed by
the Pfaintiff on Decsnber 27, 2017, based upon Dr. Zahaii's eyaluation,                       as

reconmenrled by      !irs. Gallagher.   Hos/ever,   Dr.   @fernan subseguently marked the
Treatment PIan as       a "Draft" and devised a      new treatment   plan, vrherein Dr.
Cofernen ciunged      the Pfaintiff's diagnoses, rninimizing the plaintiff's
psychiatric disabilities, as \,reLl as severaf other significant             a.I   teratior-rs.
The     Plaintiff   would not sic;rn Lite altere:l Tfeabnent plan, due     to ure changes
nrcle byDr. Coleruan. (See, [1[ 67-70, above. ) Mrs. Gallagher instructerj I{s.
Rosario to dcvel-op an agEeeilbfe tre*rb]nent. plan the l,laintiff is wilLinq to
sig|ir.
          (75) On Se;.:ternber 22, 2018, per pirs. G:llagher's instructions to             l4s.

Rosario      to develop a new treatrnent plan (see, [        74 above), t"ts. Rosario devised
a                   ) "MH Treatrnent plan'r. The Septanber 22, 2O1g TreatnEnt
    (new1y forirntted

PIan correctl-y lists the Plaintiff's "Diagnosis History: Chronic PISD, I4DD

[l4ajor ]Depressive Disorderl, Severe Arxiety Condition,'; ',Goals"; ard
                            1n
"Measurab.Ie     objectives"'Y the plaintiff aqreed with what vras stated in tne
ivIH   lleatment Plan and both Ms. Rosario and the plainbiff siqned the               MH

Treatment PIan.
          (76) On, or about, Septernber 23, 2018, l,ls. Rosario forwarded a copy
of the signed and dated lteatrnent Plan developed on Septarber 22, 2Oj8 and
'"It is fuiportant to note that alf "Measurable Obj ectives" listed are the
responsibility of the Plaintiff to util-ize treatrnent options available, excepr
S I, Obj ective #3. S 1 "Reduction of Blvironmenta] stress", objective #3
states, "Custody will provide [the Plaintiff] with perrnanent SCSi'.

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articufated in fl 75 above. l,lrs.              GalJ-agher   did not express any issues or
concerns    with the Septanber 22,              2018 lSteatrent Plan as devised.

      (77) Crt, or about october            6,    2018, unbeknown    to the PLaintiff, Dr.
colsnan directed         1"1s.   Rosarlo   to   apperd the Septernber   22'   2018 Treatnent PIan,

to state "[P].aintiffl has not been pronised, approved or authorized for
perrnanent single cell status with the creation of this treatment plan".

      (78) The Plaintiff attqpted to verbally address the seriousness of
his deteriorating nental- health condition with Warden ltulligan, while
warden ltuIligan was visiti-ng the Plaintiff's housing unit on Janr.Ery 10,

2019. During the conversation, the                 Plaintiff    referenced the several   ADA

Requests    for    Reasonable Accqnncdations, ard responses therefrcrn and the need

to be placed on SCS and receive facility transport to appoinbrents                      outsj-de

of the facility          (as nention tlroughout). Warden l,tulligan requested the
PLaintiff forward a correspordence outlining the details as discussed.
      (79) The Plaintiff fonarded a l-etter, dated Januarl' 12, 2019, to Warden
Mulligan, wherei-n the Pfaintiff sununarized the conversation, as described
in fl 78 above, and the Plaintiff outl-ined his mental health condition and
treatment issues, as llarden ltlr,rlligan reguested. The Pfahtiff did not receive
a response.
      (80) Due to increasingly intensified synptqns of his psychiatric
disabifities, a diminished ability to self-regulate ard anticipated ctlange
of celL trErtners, the Plaintj.ff @an a prescription of psychotropic
medication, in January             of   2019.

      (91   )   On Februar!,      18, 2019, the     Plaintiff    forwarded a Request   to   warden

Mulligan, "to inquire whether lwarden Mulligan] received the letter (as
described       in tl   79 above   )   and whether   or not lthe Plai-ntiff ] should be aviaiting
a response frqn I warden ttlulligan l ".

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        (82) The PLaintiff's Reguest to Warden MuLLigan, as described i.rr fl                    81

 above, was returned, dated February 26, 2019, r4rith a response                  that stated:
       "I    revievaed your request    vrith ttH staff & must point out scme inaccurate
        or cmitted infornation. First off, the tanp cell al_one status was
        grranted irt order for you to re-engage MH services, it was not pemanent
        you also qrlitted an addendum to the treatment plan that indicated you
        were not approved or autlprized pennanent SCS as a result of the
        treatment plan. "
 The reply was signed by Warden ltulligan.1l
       (83) rn February of 2019, the         plaintiff       requested an increase      in   the
 dosage     of the psychotropic medication prescribed,             due   to sigrnificant increase
 in arxiety, stenrning frcrn anticipa.ted clnnge of celL part.ers; diminishing
 ability to serf-regn:late; ard ro changres in the ptaintiff's intensified
 syrnptcrns.

       (84) The   Plaintiff retained the          services   of   an qrpert
                                                           in the fiefd of
clinical ard forensic psyctrology, Assistant kofessor of psychiatry at tht:
University of @nnecticut School of l"ledicine, I€cturer, Department of
Psychiatry at     Ya-Le   university   Sclrool-   of lrFdicine, Doctor     Andrev; l.,teisler,
Ph.D- ("Dr. Meisrerr'), early      in the year 2019. Dr. r4eisler is afso an exper.
in the area of gtSD. Based on Dr. Meisler's training ani experiencei a
         revienr of the praintiff's corprete psychiatric history; anl a serr.es

of lengthy consul,tations with the pfaintiff (which the plaintiff conterds
is far beyond any research and/or analysis provided by any elDoc l\,renta_l- Heafth
staff), Dr- Meisler diagrosed the praintiff r4'ith chronic prsD; chronic r4DD;
Anxiety Disorder (severe), as previously dj-agrnosed, ard     likely Bipolar
Disorder rr' as wefl. Dr. r4eisl-er states that being housed in a single cell
" Contrary to Warden Mutlig.an's_ rep.ly, the plaintiff's Janua4/ : 2, 2019
did rention the "tenporar1." nafirre- oi the initial granti:rg &'SCSI   -- - LeEEer
Additiornlly, tie plaintiff hras unaware of any addencum to ttre par rteatnent
P1an, at that tine- I4ost i'rportantr-y, warden trrulligan's response aoes not
adoress or attempt to address the urderlying issue (i.e., Lhe pLaintiff's
       '
deteriorating         state, ADA Requests, Adninistrative neguests, etc.j.
              ''entar
                                                  -21-
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will mitigate the slmptcrns the plaintiff continues to suffer frcrn, arrJ
reconmends SCS as part of the prescribed treabrcnt for the pl-aintiff's

psychiatric disabilities.
      (85) The Plaintiff has erdured and continues to erdure, unnec€ssart,
and prolonged   suffering.                             of the plaintiff's
                               The e)<acerbated sltnptdns
psychiatric disabilities have caused,       anf cutinue to cause, the plaintiff
mental angn:ish and an irreparabl-e deteriorating nentar      state.   Due   to the
envirorunentar stress of a double-cerf and arxiety over anticipated ,'centrar
Ttansportation" trips to appointn=nts outside of the facil-ity, the p]aintiff
struggles in attenrpts to serf-regnrrate, utir-izing the nethods as previously
practiced with no    relief. rhe plaintiff    continues to pursue   all   reccnwrended
arrl prescribed treatrent options available, as outlined in the operative
ffi TreatlrEnt Pfan, including ( although rpt outlined in the MH rteatrnent pLan,
nor requi-red for               ) prescribed psychotropic medications, also
                    ADA conpliance

with no retief.l2 "crrstody" has not, nor wir-r. not, provide the plaintiff
ntith a single-cell eventhough: "ternporary" sc:s was previousry provided based
upon the reccnnerr:lation   of Dr. corernan, ard than revoked prermturery withouc
any reassessrent    or evaluation; D!.. zahedi stated scs will    improve the
Plaintiff rs synptons;   ADA   Adrninistrative Coordinator, t/trs. Gallagher,
reccrnended the   plaintiff    "be afforded the opportunity to be celled al-one
until [a] treatment p]an is devised...." (lulrs. cal]agher never took the
necessary steps to ensure the praintiff was afforded said opportunity and

tle Plaintiff never $,as afforded said opportunity); An official MH tteabnent
PIan wasfirally devised on Septernber 22, 201g, which states, in part,
"Ostody will provide lthe ptaintiff] with pennanent sCS, and Dr. ]4eister
recqnnends SqS as   part of the prescribed treatment of the pLaintiff's


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psychiatric disabilities and to prevent further deterioration of the
Plaintiffrs      r'nentaL   s'tate. Furthern>re, the praintiff already has cancersl
two schedul,sl appoinhrcnt         to the unirzersity of connecticut Health center,
John Danpsey Hospital, located          at    263 Farlnington Avenue,    in   Farnrington (one,
on   or   around June   1,   20'18 (Cardiologry), and    the other, on or arounf        May 7,
2019 (urology)), due to increased anxiety reve.rs in anticipation of undergoing
the procuiures of the Centratized Ttansportation Unit (,'CfU").13
V.   A(taUgTtCt.I OF ADUINISIRATTVE RE,IEDIES

       (86) The    Pl.rintiff   hereby incorpor.rtes     fjl   12 through 85,   of this
"(bnplaint For |bney         Damages And   Injrinction", hereto by reference.
       {B7) 11\e pfaintiff has      cxrraus   tur ar-r adririnistraEive rarslies    r^/i L.h   resDect
to all c.lairns, as they relete to all          defendants.
VT. I.EAL    C[AI}4S

      A.   The Plaintiff Eas, And Is, Being SUbj ected Ib Crue1 Ancl Urusual
           andshnEnt rn vioration of The Eighth Anren&rsrt rb the urrited
           States Consti tulion.
      (BB) The    Plaintiff     hereby incorporates jtJI 12 through 85,         of this
"Conplaint For f4oney Daflages And fnjunctionn, hereto by reference.
    (89) The Deferdant, Dr. Joseph @Lqran's acts ard anissions, as stated
herein, crcnstitute deriberate indifference to the praintiff's serious rnedical

 '-h'iurout e resolution or" the reoccurring transporL.ation issue, bhe plaintiff
will be forcql to clroose between ei ther endr:ring u)necessary ald wanton
infl-icLion of pain rnd psychological tonnent, or go wittrout having serj-ous
rrrcciic.rl nc!\-ls diagnossl and :reated, both of which are anti retical_ to re
1nw .rrrcr Colstitution. The Plaintiff highlights to this Honorable Court tlnt
it. is Lhe ordinary course of business for CIDOC to provide single-ceIls and
direct transport to problanratic irunates, or inmates with behavioral problems,
when it is convenient to Co so. Taking into account the plaintiffrs
psychiatric disabilities, crrnti ral- confine,nent in a,louble-ceff environmenc
as wel-I as undergoing CTU transport to appoinLtrents outside the facility,
is lkin to rrentaL torture with rlebilitating physiological effects. ffDOC
olficials should not be iErmitted to base conditions of confinement decisions
on wimt is convenient, while denying dis.:bl-sl innates reasonable
acconrprla tions that are identical.



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 needs. The Deferdant, in failing to reassess/evaluate the plaintiffrs nentaL
 cordition, prior to revol<ing the pLaintiff's ',tanporary', SCS designation;
 take the steps necessary to ensure the praintiff received nental hearth
 treatnent, despite knowing the praintiff's serious medical need; wirlfulry
 and maLiciously attered the praintiff's treatment plans, to dcxr'-play the

 Plaintiff's           after the treatnent plans were devised anal agreed to;
                    diagn:roses

 intentionally interfering in the pr-aintiffrs treatment, by ordering r4s.
Rosario to apperd the             MH   Tteat,nent plan;   anl failing to assess, evaluate,
anf treat the Plaintiff, prior to denying the praintiff'|s                  ADA   Request   for
direct transportation, disregarded an excessive risk to the pfaintiff's heaLth
and safety. The Deferdant's actions were/are not adeq'ate given the known
risk.   Additiona]-1y, the Deferdant has caused ( and continues to cause)
unnecessary ard sranton           infliction of    pa.in arri   suffering, upon the pfaintiff.
The   Pfaintiff's       pa.in ard suffering has been/        is   being unnecessarily pr.olonged,
due   to the Deferdant's acts            and dnissions. Ivlcreover, the acts      of the Deferdant
ard statenents made, ccnq:retery disregards the pLaintiff's serious nedical
needs and disprays an irrlifferent attitude tovard such nredical, needs.

        (90) rhe Defendant, carol ctrapdelaine's acts ard onissions, as stated
herein, constitute deliberate indifference to the plaintiff's serious rpdi.car
needs- The Defendant, in failing to respond to the plaintiff's serious nedical
needs, despite the ptaintiff apprising the Deferdant of the severity of
such, anl       d   -y respording      to the plaintiff after the plaj,ntiff's
correspondence to the @rmissioner of correction r^ras forwarded to the
Defendantrs office, caused unnecessar!. arrl wanton infliction of pa.in and
suffering upon the p]ainti-ff, which was unnecessarily prolonged due to the
Deferdant   I
                s acts arri onrissions. The Defendant's acts and qrdssions disregarded
an excessive        risk to the plaintiff,s health ard safety           and were/are not

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adeguate given the known          risk.   Furthernpre, the Deferdant I s faifure to act
dqrcnstrates a odrplete disregard ard indifferent attitude toward the
Plaintiff's         serious medicaL needs.
        (91   )   The Deferdant, Colleen Gal.Iagherrs acts and cmissions, as stated

herein, constitute defiberate irdifference to the Plaintiff's serious nredical
needs.    After pursuing an addi ticrnal assessnent/eval-uation of the pl-aintiff,
by a "Aoard Certified Psyctriatrist", and receiving the report, the Defendant
(s*ro   is    responsible for overseeing      ADA   c€rnpliance   for the gImC),   rnade a

recqfirerdation as to the course of treatnent, but fai]ed to ensure such
treatnent was carried out; failed to inluire into the need for the                  pfaintiff
to receive direct transportation,            and caused unnecessary and rranton      infLiction
of                             praintiff. Ttre Defendant's acts and crnissions
     pa.in ard suffering upon the

unnecessarily prolonged the plaintiff's pa.in and suffering, disregarded an
excessive risk to the Plaintiff's health ard safety, ard were not adequate
given the knosn risk.
        (92) The Defendant, @rald Hinesr acts and crnissions, as stated herern,
constitute deriberate irdifference to the praintiff's serious medicar needs.
The Deferdant,        in   denying the   plaintiff's   reguest for an extension
                                                                       of the
"fa.rf"or.ryrr SCS, to include at the very minjrnun the fourth month of the
initial- three-to-four nonth recornendation, without any reasses$nent or
eval,uation       of the Plaintiff's nrental condition, disregarded       an excessive
risk to the Pl-aintiff 's heal-th and safety. F\Ethenrcre, the conplete denial
of ScS in the sare regard, aLso fails to take into ac-crount the excessive
risk to the Pfaintiff's         heal-th ard safety. The Defendantrs actions were/are
not adequate given the knoun risk. Additioral.ly, the Defendant has                causedr

arrl continues to cause, unnecessarlz ard wanton inffiction of pa.in ard
suffering upon the Plaintiff. The plaintiff's pa.in ard suffering has been/
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is   being unnecessariLy prolonged, due to the Defendant's acts and crnissions.
l4oreover, statqents nnde by the Deferrtant decrDnstrate only a concern                  for
the PLai-ntiff's betravior ard/or probterns caused to staff, ccnpJ-etely
disregards the      Plaintiff's   serj-ous rnedical needs ard display an indifferenc
attitude    tolrrard such tredical needs.
       B. DE Plailltiff Is Beirg Urlanfully $bjected 1lr Discri.nilaticr,
          E<cluded ltror Participa.ticr In, arrl Derdeal GE BerEfits Of, Servies,
          Pragqidrs, ard Activities, In Viol,atiqr Of Itre Arericans With
          Disabilities Act anal Tie Relnbititaticn Act.
       (93) The Plaintiff hereby incorporates flfl 12 through 85, of this
"@nplaint For       l4oney Danages And Inj    unctionr, hereto by reference.
       (94) The PLaintiff suffers fron psychiatric disabilities that
substantially linits his     or life activities anl is a 'rqualified person
                              maj

with a disabilityrr as defined by the ADA and "otherwise qualified,' in
accordance $rith the RA.

       (95) The    Pfaintiff is                 to, arrl excruded frcrn receiving
                                  being denied access
the benefits of medica] services, by the Defendants' deniaf of sqs ard direct
transportation to medical- appointments outside of the facility.l4
       (96) The Defendants have failed to nnke reasonab.l-e accdnncdations for
the PLaintiffrs disabilities, in denying the pfaintiff              SCS   and   direct
transportation to rnedical appointnents outside of the facility.
     (97) The Deferdants'acts ard crrlissions have a dispa.rate irnpa.ct on the
Plaintiff, in that the Deferdants provide             singJ-e-cel]s and dj.rect
transportation to appoink€nts outside the            facility to probleratic innates,
or   irunates   with behavioral   problerns   when it is ccrnverrient to do so, wtrile

denying disabled innates reasonabl_e accqrnrcdations that are identicaf.
       (98) The Deferdants'acts and dLissions violate the pl-aintiffrs riqhcs
under the   ADA   ard   RA.
1A
'=AJ.tlrough the Pl-aintiff is not wholly precluded frcrn participating in this
service, he is subj ect to pain ani suffering, in the form of psyctrological,
                                               _26_
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vrr.   Rmt Esr    rq. RH,m
       Wherefore, the  Plaintiff respectfully reguests tllat this           Honorable @urt

grrant   the follcndng refief:
       A. Issue a declaratory j udEnent stating that:
          1. The Deferdants violated the Plaintiff's rights urder the Eighth
             AnEndnent to the United States constitution;
          2. The Defendants violated the Plaintiff's rights urder the Arrericans
             with Disabilities Act and the Rehabilitation Act.
       B. Issue a permanent injunction ordering Deferdants Willian Ittilligan
          ard Roflin @ol<, their successors in office, agents. enployees and aLL
          other persons acting in concern to:
          1. Designate the Pfaintiff as having perrnnent single-cell status;
          2. Provide the Plaintiff with direct transportation to appointnents
             outside of the correctiornl facil-itv in whictr the Plaintiff ls
                housed.

       C. Award cdnpensatory     darnages in the following anounts:
           1.   $150,000 ( one hurdred fifty thousard) against Deferdant Joseph
                Co]snan;
           2.   $101000 (ten thousard ) against Defendant CaroJ, Cfnpdelaine;
           3.   $50,000 (fifty thousard ) against Deferdant Colleen Gallagher;
           4.   $501000 (fifty thousand ) against Defendant cerald Hines.

       D. Award punitive dannges        in the anpunt of:   $1   ,500,000 ( one million
           five   hundred thousand) .

       E. Any other such relief the Plaintiff        rnay be     entitfed, urder faw and
          in the interest of justice.




                                                       Respectfull-y Subndtted,

                                                        (afu"L [4/&/L              Sfuftq
                                                       Patrick     Wa1sh
                                                       Plaintiff, ko       se




(continued)...torrnent' each tine he attetpts to take advantage of outside
medical appoi.ntnents. Surely, the Plaintiff is beinq denied the benefits
of this service.
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